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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE, DR.
 ALICE WASHINGTON, STEVEN HARRIS,
 ALEXIS CALHOUN, BLACK VOTERS
 MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,                            Civil Action No. 3:22-cv-00178
                              Plaintiffs,            SDD-SDJ

 v.
 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,
                              Defendant.


                          [PROPOSED] ORDER
           GRANTING EX PARTE LEAVE TO PARTICIPATE REMOTELY

       Upon consideration of the Ex Parte Motion for Leave to Participate Remotely submitted

by Plaintiffs’ counsel, the motion is found well-taken and is GRANTED.

       The members of Plaintiffs’ counsel team who are not attending the February 21, 2024

scheduling conference in person may appear by telephone. Participant instructions will be sent

separately by email.


      IT IS SO ORDERED.

      Signed at Baton Rouge, Louisiana, this _____ day of February, 2024.



                                            __________________________________________
                                            CHIEF JUDGE SHELLY D. DICK
                                            UNITED STATES DISTRICT COURT
